Case 2:01-cr-80967-SFC-MKM ECF No. 76, PageID.269 Filed 06/22/06 Page 1 of 1




                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF MICHIGAN
                                           SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                     Plaintiff/Respondent,
                                                                          CASE NO. 01-80967
                                                                                    05-72434
v.                                                                        HON. LAWRENCE P. ZATKOFF

D-1 DONALD SISTRUNK,

            Defendant/Petitioner.
__________________________________/

                                                          JUDGMENT

          IT IS ORDERED AND ADJUDGED that pursuant to the Court’s Order dated June 22, 2006,

and Magistrate Judge Pepe’s Report and Recommendation dated May 30, 2006, Petitioner’s cause

of action is DISMISSED WITH PREJUDICE.

                     Dated at Detroit, Michigan, this 22nd day of June, 2006.

                                                                     DAVID J. WEAVER
                                                                     CLERK OF THE COURT
                                                               BY:   s/Marie E. Verlinde

APPROVED:


s/Lawrence P. Zatkoff
LAWRENCE P. ZATKOFF
UNITED STATES DISTRICT JUDGE




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